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                                                                               3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    In re:                                                 Case No. 08-14631

    SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge: Gloria M. Burns

                    Debtors.                               Chapter: 11

     INTERIM ORDER (I) AUTHORIZING DEBTORS (A) TO OBTAIN POST-PETITION
         FINANCING AND GRANT SECURITY INTERESTS AND SUPERPRIORITY
        ADMINISTRATIVE EXPENSE STATUS PURSUANT TO 11 U.S.C. §§ 105, 362,
    364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) AND 364(e), AND (B) TO REFINANCE CERTAIN
     PRE-PETITION SECURED INDEBTEDNESS; (II) MODIFYING THE AUTOMATIC
     STAY PURSUANT TO 11 U.S.C. § 362; (III) GRANTING OTHER RELIEF; AND (IV)
      SCHEDULING A FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(c)

             The relief set forth on the following pages numbered 2 through 38 is hereby ORDERED

    AND GRANTED.




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        This matter is before this Court upon the motion (the “Motion”), dated March 16, 2008,

of Shapes/Arch Holdings, L.L.C. (“Holdings”), Shapes L.L.C. (“Shapes”), Delair L.L.C.

(“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra L.L.C. (“Ultra” and, together with

Holdings, Shapes, Delair and Accu-Weld, collectively, the “Debtors” and each individually a

“Debtor”), each as a debtor and debtor-in-possession in the above-captioned Chapter 11 cases

(collectively, the “Cases”), pursuant to Sections 105, 362, 364(c)(1), 364(c)(2), 364(c)(3),

364(d)(1), and 364(e) of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”) and Rules 2002, 4001(c) and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), which Motion seeks, among other things:

                           (1)   authorization and approval for the Debtors to obtain post-petition

loans, advances and other financial accommodations (the “Post-Petition Financing”) on an

interim basis for a period through and including the date of the Final Hearing (as defined below)

under or in connection with (a) a debtor-in-possession term loan facility (the “Post-Petition

Term Loan Facility”) in an amount up to the aggregate principal amount of $25 million at any

time outstanding (the “Post-Petition Term Loans”) (the actual available principal amount at any

time being subject to those conditions set forth in the Post-Petition Term Loan Agreement (as

defined below)) from Arcus ASI Funding, LLC (“Arcus”), as agent (in such capacity, the “Term

Loan Agent”) for itself and a syndicate of financial institutions (together with Arcus, the “Term

Loan Lenders”) to be arranged by Arcus or affiliates thereof, and (b) a debtor-in-possession

revolving credit facility (the “Post-Petition Revolving Credit Facility” and, together with the

Post-Petition Term Loan Facility, the “Post-Petition Facilities”) in an amount up to the

aggregate principal amount of $60 million at any time outstanding (the “Post-Petition

Revolving Credit Loans” and, together with the Post-Petition Term Loans, the “Post-Petition

Loans”) (the actual available principal amount at any time being subject to those conditions set


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forth in the DIP Revolving Credit Agreement and the other Financing Agreements (in each case,

as defined in the Interim Revolving Credit Order) (collectively, the “Post-Petition Revolving

Credit Documents”) from The CIT Group/Business Credit, Inc. (“CIT”), as agent (in such

capacity, the “Revolving Credit Agent” and, together with the Term Loan Agent, the

“Agents”), for itself and lenders currently consisting of JPMorgan Chase Bank, N.A. and

Textron Financial Corporation (together with CIT, the “Revolving Credit Lenders” and,

together with the Term Loan Lenders, the “Lenders”);

                           (2)   authorization and approval for the Debtors to execute and enter

into the Post-Petition Financing Documents (as defined below) and to perform such other and

further acts as may be required in connection with the Post-Petition Financing Documents;

                           (3)   the grant to each Agent, for the benefit of itself and the Lenders for

which it acts as agent, of valid and perfected security interests and liens in and upon the

Collateral (as defined below) pursuant to Sections 364(c)(2), 364(c)(3) and 364(d)(1) of the

Bankruptcy Code in accordance with the terms hereof and the terms of the Interim Revolving

Credit Order (as defined below), with the priorities set forth herein and in the Interim Revolving

Credit Order (as defined below);

                           (4)   the grant to each Agent, for the benefit of itself and the Lenders for

which it acts as agent, of superpriority administrative claim status pursuant to Section 364(c)(1)

of the Bankruptcy Code in accordance with the terms hereof and the terms of the Interim

Revolving Credit Order;

                           (5)   modification of the automatic stay to the extent set forth herein and

in the Interim Revolving Credit Order;

                           (6)   pursuant to Bankruptcy Rule 4001(c), that an interim hearing (the

“Interim Hearing”) on the Motion be held before this Court to consider entry of:

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                              (a) this order (this “Interim Order”) (a) authorizing and granting

approval for the Debtors, on an interim basis, to forthwith execute the Post-Petition Term Loan

Documents (as defined below) and borrow from the Term Loan Lenders up to an aggregate

principal amount at any time outstanding not to exceed $25 million to be used (i) to refinance the

outstanding principal balance of the term loan under the Financing Agreement, dated as of

December 30, 2003 (as amended, supplemented, extended or otherwise modified from time to

time, the “Pre-Petition Loan Agreement”), by and among the Debtors (other than Holdings),

the Revolving Credit Agent and the Revolving Credit Lenders, (ii) to refinance the balance of the

PP&E Equity Collateral Borrowing Base Component under (and as defined in) the Pre-Petition

Loan Agreement, and (iii) for working capital and other general corporate purposes of the

Debtors (subject to any limitations of borrowings under the Post-Petition Term Loan

Documents), and (b) granting the other relief described herein; and

                              (b) an order (the “Interim Revolving Credit Order”) (a)

authorizing and granting approval for the Debtors, on an interim basis, to forthwith execute the

Post-Petition Revolving Credit Documents and borrow or obtain letters of credit from the

Revolving Credit Lenders under the Post-Petition Revolving Credit Documents up to an

aggregate principal or face amount at any time outstanding not to exceed $60 million to be used

(i) to refinance all amounts outstanding as of the Petition Date (as defined below) under the Pre-

Petition Loan Agreement, to the extent not refinanced with the proceeds of the Post-Petition

Term Loans as described above, and (ii) for working capital and other general corporate

purposes of the Debtors (subject to any limitations of borrowings and issuances of letters of

credit under the Post-Petition Revolving Credit Documents), including the deeming of all

outstanding letters of credit issued under the Pre-Petition Loan Agreement (as defined below) to



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constitute letters of credit issued under the Post-Petition Revolving Credit Agreement, and (b)

granting the other relief described in the Interim Revolving Credit Order; and

                           (7)   that this Court schedule a final hearing (the “Final Hearing”) to be

held not later than April [4], 2008 to consider entry of:

                                 (a)       a final order (the “Final Order”) (a) authorizing and

granting approval for the Post-Petition Term Loan Documents and the balance of the borrowings

under the Post-Petition Term Loan Documents on a final basis, as set forth in the Motion and the

Post-Petition Term Loan Documents, and (b) granting the other relief described in the Final

Order; and

                                 (b)      a final order (the “Final Revolving Credit Order”)

authorizing and approving (a) the Post-Petition Revolving Credit Documents and the balance of

the borrowings and letter of credit issuances under the Post-Petition Revolving Credit

Documents on a final basis, as set forth in the Motion and the Post-Petition Revolving Credit

Documents, and (b) granting the other relief described in the Final Revolving Credit Order.

        This Court having found that due and appropriate notice, under the circumstances, of the

Motion, the relief requested therein, and the Interim Hearing (the “Notice”) has been served by

the Debtors in accordance with Bankruptcy Rule 4001(c) on (i) the Agents and the Lenders, (ii)

the United States Trustee for the District of New Jersey (the “U.S. Trustee”), (iii) the holders of

the thirty (30) largest unsecured claims against the Debtors’ estates on a consolidated basis (but

no less than the holders of the five (5) largest unsecured claims in each Case) (the “Largest

Unsecured Creditors”), (iv) the Internal Revenue Service, (v) the New Jersey Attorney General,

(vi) the Commonwealth of Pennsylvania Department of Revenue, and (vii) certain other parties

identified in the certificate of service filed with this Court (collectively, the “Noticed Parties”).

        This Court having held the Interim Hearing on the Motion on March 18, 2008.

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        Upon the record made by the Debtors at the Interim Hearing, including the Motion, and

the filings and pleadings in the Cases, and good and sufficient cause appearing therefor;

        THIS COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:

                 A.        Petition. On March 16, 2008 (the “Petition Date”), each Debtor filed a

        voluntary petition (the “Petition”) under Chapter 11 of the Bankruptcy Code. The

        Debtors continue to operate their businesses and manage their properties as debtors-in-

        possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

                 B.        Jurisdiction and Venue. This Court has jurisdiction of this proceeding and

        the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. The

        Motion is a “core” proceeding as defined in 28 U.S.C. §§ 157(b)(2)(A), (D) and (M).

        Venue of the Cases and the Motion in this Court is proper pursuant to 28 U.S.C. §§ 1408

        and 1409.

                 C.        Notice. Notice of the Interim Hearing, the Motion and proposed entry of

        this Interim Order has been provided to the Noticed Parties. Under the circumstances,

        requisite notice of the Motion and the relief requested thereby and this Interim Order has

        been provided in accordance with Bankruptcy Rules 4001(c) and 9014, which notice is

        sufficient for all purposes under the Bankruptcy Code, including, without limitation,

        Sections 102(1) and 364 of the Bankruptcy Code, and no further notice of, or hearing on,

        the Motion or this Interim Order is necessary or required.

                 D.        Preliminary Findings Regarding the Post- Petition Financing.

                           (i)      Postpetition Financing.   The Debtors have requested from the

Term Loan Agent and the Term Loan Lenders, and the Term Loan Agent and the Term Loan

Lenders are willing to extend, the Post-Petition Term Loan Facility, as more particularly

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described, and on the terms and conditions set forth, in this Interim Order and the Post-Petition

Term Loan Documents.

                           (ii)    Need for Post-Petition Financing.    The Debtors do not have

sufficient available sources of working capital and liquidity to operate their businesses in the

ordinary course without the Post-Petition Financing, including the Post-Petition Term Loan

Facility. The Debtors’ ability to maintain business relationships with their vendors, suppliers

and customers, to pay their employees, to make capital expenditures and to otherwise fund their

operations is essential to the Debtors’ continued viability. The ability of the Debtors to obtain

sufficient working capital and liquidity through the proposed Post-Petition Financing on the

terms set forth in the Post-Petition Financing Documents, this Interim Order and the Interim

Revolving Credit Order is vital to the preservation and maintenance of the going concern value

of the Debtors and to a successful reorganization of the Debtors. Accordingly, the Debtors have

an immediate need to obtain the Post-Petition Financing, including the Post-Petition Term Loan

Facility, in order to, among other things, permit the orderly continuation of the operation of their

businesses, minimize the disruption of their business operations, manage and preserve the assets

of the Debtors’ bankruptcy estates (as defined under Section 541 of the Bankruptcy Code, the

“Estates”) in order to maximize the recovery to all stakeholders of the Estates.

                           (iii)   No Credit Available on More Favorable Terms. The Debtors are

unable to procure financing in the form of unsecured credit allowable under Section 503(b)(1) of

the Bankruptcy Code, as an administrative expense under Section 364(a) or (b) of the

Bankruptcy Code, or in exchange for the grant of an administrative expense priority pursuant to

Section 364(c)(1) of the Bankruptcy Code, without the grant of liens on all or substantially all of

the Debtors’ assets pursuant to Sections 364(c) and 364(d) of the Bankruptcy Code. The Debtors

have been unable to procure the necessary financing on terms more favorable than the financing

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offered by the Agents and the Lenders pursuant to the Post-Petition Financing Documents, this

Interim Order and the Interim Revolving Credit Order.

                           (iv)   Budget. The Debtors have prepared and delivered to the Term

Loan Agent and the Term Loan Lenders the Budget (as defined in the Post-Petition Term Loan

Agreement), a copy of which is annexed hereto as Exhibit 1. The Budget has been thoroughly

reviewed by the Debtors and their management and sets forth, among other things, the projected

cash receipts and disbursements for the periods covered thereby. The Debtors believe in good

faith that the Budget is achievable and will allow the Debtors to operate in Chapter 11 without

the accrual of unpaid administrative expenses during the term of the Budget. The Term Loan

Agent and the Term Loan Lenders are relying upon the Debtors’ compliance with the Budget in

determining to enter into the Post-Petition Term Loan Documents.

                           (v)    Business Judgment and Good Faith Pursuant to Section 364(e).

The terms of the Post-Petition Term Loan Documents and this Interim Order are fair, just,

reasonable and appropriate under the circumstances, reflect the Debtors’ exercise of their prudent

business judgment consistent with their fiduciary duties, and are supported by reasonably

equivalent value and fair consideration. The terms and conditions of the Post-Petition Term

Loan Documents and this Interim Order have been negotiated in good faith and at arms’ length

by and among the Debtors, on one hand, and the Term Loan Agent and the Term Loan Lenders,

on the other hand, with all parties being represented by counsel. Any credit extended under the

terms of this Interim Order shall be deemed to have been extended in “good faith” as that term is

used in Section 364(e) of the Bankruptcy Code and in express reliance upon the protections

afforded by Section 364(e) of the Bankruptcy Code in the event that this Interim Order or any

provision hereof is vacated, reversed or modified, on appeal or otherwise.



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                           (vi)    Good Cause. The relief requested in the Motion is necessary,

essential and appropriate, and is in the best interest of and will benefit the Debtors, their creditors

and their Estates, as its implementation will, among other things, provide the Debtors with the

necessary liquidity to (a) minimize disruption to the Debtors’ businesses and on-going

operations, (b) preserve and maximize the value of the Debtors’ Estates for the benefit of all of

the Debtors’ creditors, and (c) avoid immediate and irreparable harm to the Debtors, their

stakeholders, their businesses, their employees, and their assets.

                           (vii)   Immediate Entry. Sufficient cause exists for immediate entry of

this Interim Order pursuant to Bankruptcy Rule 4001(c)(2). No party appearing in the Cases has

filed or made an objection to the relief sought in the Motion or the entry of this Interim Order, or

any objections that were made (to the extent such objections have not been withdrawn) are

hereby overruled.

                 Based upon the foregoing, and after due consideration and good cause appearing

therefor;

                 IT IS HEREBY ORDERED, ADJUDGED AND DECREED, that:

Section 1.       Authorization and Conditions to Financing.

                 1.1       Motion Granted. The Motion is granted in accordance with Bankruptcy

Rule 4001(c)(2) to the extent provided in this Interim Order and the Interim Revolving Credit

Order. This Interim Order shall immediately become effective upon its entry.

                 1.2       Authorization to Borrow and Use of Loan Proceeds. The Debtors are

hereby authorized and empowered to immediately borrow and obtain loans and to incur

indebtedness and obligations (including, without limitation, the “Obligations” under (and as

defined in) the Post-Petition Term Loan Agreement) owing to the Term Loan Agent and the

Term Loan Lenders (collectively, the “Post-Petition Term Loan Obligations”), on a joint and

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several basis, on the terms and subject to the conditions set forth in the Post-Petition Term Loan

Documents and this Interim Order, during the period commencing on the date of this Interim

Order through and including the date of the Final Hearing as set forth in Section 7 of this Interim

Order (the “Interim Financing Period”), in such amounts as may be made available to the

Debtors by the Term Loan Agent and the Term Loan Lenders in accordance with all of the terms

and conditions set forth in the Post-Petition Term Loan Documents. Subject to the terms and

conditions contained in the Post-Petition Term Loan Documents and this Interim Order, the

Debtors shall use the proceeds of the loans and any other financial accommodations provided to

the Debtors (a) to refinance the outstanding principal balance of the term loan under the Pre-

Petition Loan Agreement, (b) to refinance the balance of the PP&E Equity Collateral Borrowing

Base Component under (and as defined in) the Pre-Petition Loan Agreement, and (c) for working

capital and other general corporate purposes of the Debtors (subject to any limitations of

borrowings under the Post-Petition Term Loan Documents), including the repayment of amounts

outstanding under the Post-Petition Revolving Credit Agreement and including the payment of

interest, fees and expenses under the Post-Petition Financing Documents, in each case, in

accordance with the terms and conditions of the Post-Petition Term Loan Documents, the

Intercreditor Agreement and this Interim Order.1 The Post-Petition Term Loan Obligations and

the Revolving Credit Obligations (as defined in the Interim Revolving Credit Order) are

sometimes collectively referred to herein as the “Obligations”.

                  1.3      Financing Agreements.



1
  Notwithstanding any approval by the Term Loan Agent and the Term Loan Lenders of the Budget (or, in their sole
discretion, any amended Budget(s)), the Term Loan Agent and the Term Loan Lenders will not, and shall not be
required to, provide any loans or other financial accommodations pursuant to the Budget or to fund any specific
expenses or disbursements set forth in the Budget, but shall only provide loans and other financial accommodations
pursuant to the terms and conditions set forth in the Post-Petition Term Loan Documents and this Interim Order.
The inclusion of this provision in this Interim Order is not intended to affect any applicable rights of the Revolving
Credit Agent under the Intercreditor Agreement (as defined below).
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                           1.3.1   Authorization. The Debtors are hereby authorized and directed to

enter into, execute, deliver, perform, and comply with all of the terms, conditions and covenants

of the Debtor-in-Possession Term Loan Financing Agreement (as amended, supplemented,

extended or otherwise modified from time to time, the “Post-Petition Term Loan Agreement”),

in substantially the form annexed hereto as Exhibit 2, and all other agreements, documents and

instruments executed or delivered with, to, or in favor of the Term Loan Agent and the Term

Loan Lenders from time to time, including, without limitation, all security agreements, notes,

guarantees, mortgages, Uniform Commercial Code financing statements and all other related

agreements, documents and instruments executed and/or delivered in connection therewith or

related thereto (all of the foregoing, together with the Post-Petition Term Loan Agreement, as

amended, supplemented, extended or otherwise modified from time to time, collectively, the

“Post-Petition Term Loan Documents” and, together with the Post-Petition Revolving Credit

Documents, collectively, the “Post-Petition Financing Documents”), each of which shall

constitute valid, binding, enforceable and non-avoidable obligation of the Debtors and their

Estates in accordance with its terms for all purposes during the Cases, any subsequently

converted case of any Debtor under Chapter 7 of the Bankruptcy Code or after the dismissal or

reorganization of any Case. The Debtors are authorized and directed to perform all acts, and

execute and comply with the terms of all additional agreements, instruments and documents, as

the Term Loan Agent may reasonably require from time to time as evidence of and for the

protection of the Post-Petition Term Loan Obligations and the Collateral or which may be

otherwise deemed necessary by the Term Loan Agent to effectuate the terms and conditions of

this Interim Order and the Post-Petition Term Loan Documents.

                           1.3.2   Approval. The Post-Petition Term Loan Documents and each term

set forth therein are approved, and the terms of the Post-Petition Term Loan Agreement are

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incorporated into this Interim Order by this reference as if more fully set forth herein. All of the

terms, conditions and covenants set forth in the Post-Petition Term Loan Documents shall be

sufficient and conclusive evidence of the financing arrangements by and among the Debtors, the

Term Loan Agent and the Term Loan Lenders, and of each Debtor’s assumption and adoption of

all of the terms, conditions, and covenants of the Post-Petition Term Loan Documents for all

purposes, including, without limitation, to the extent applicable, the payment of all Post-Petition

Term Loan Obligations, including, without limitation, all principal, interest, fees (including,

without limitation, the arrangement fee, the agent/facility fees, the collateral monitoring and

servicing fees and the termination fee set forth in Section 9 of the Post-Petition Term Loan

Agreement), indemnities, costs and expenses, including, without limitation, all of the Term Loan

Agent’s and the Term Loan Lenders’ attorneys’ and other professionals’ fees and expenses, in

each case, in accordance with and as more fully set forth in the Post-Petition Term Loan

Documents. Without limiting the generality of the foregoing, the Debtors are authorized and

directed, without further order of this Court, to pay or reimburse the Term Loan Agent and the

Term Loan Lenders, in accordance with and as more fully set forth in the Post-Petition Term

Loan Documents, for all present and future costs and expenses paid or incurred by the Term

Loan Agent and the Term Loan Lenders in connection with the Post-Petition Financing, all of

which shall be and are included as part of the principal amount of the applicable Post-Petition

Term Loan Obligations and secured by the Collateral.

                           1.3.3   Amendment. Subject to the terms and conditions of the Post-

Petition Term Loan Documents and the Intercreditor Agreement (as defined below), the Debtors

and the Term Loan Agent and the Term Loan Lenders may amend, modify, supplement or waive

any provision of the such Post-Petition Term Loan Documents (an “Amendment”) without

further approval or order of this Court; provided that (a) any such Amendment must be in writing

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and served upon (i) the Revolving Loan Agent, (ii) the U.S. Trustee and (iii) counsel to the

official committee of unsecured creditors appointed in the Cases under Section 1102 of the

Bankruptcy Code (the “Creditors’ Committee”), or in the event no Creditors’ Committee is

appointed at the time of such Amendment, the Largest Unsecured Creditors; and (b) any such

Amendment that operates to increase the interest rate (other than as currently provided in the

Post-Petition Term Loan Agreement), increase the aggregate loan commitment amounts

available under the Post-Petition Term Loan Agreement, shorten the scheduled maturity date

under the Post-Petition Term Loan Agreement, add specific new events of default or enlarge the

nature and extent of default remedies available to the Term Loan Agent and the Term Loan

Lenders following an event of default must be filed with this Court and served upon the parties

described in the preceding clause (a), and such parties shall have 5 days to object to such

Amendment (and if no such party objects to such Amendment within such time frame, it shall

immediately become effective).

Section 2.       Collateral and Superpriority Administrative Claim Status.

                 2.1       Collateral.

                           2.1.1   Lien Grant.

                                   a.     For purposes hereof, (i) the “Revolver Senior Collateral”

        and the “Term Senior Collateral” shall have the meanings set forth set forth on Exhibit

        3 annexed hereto, and (ii) “Collateral” shall mean, collectively, the Revolver Senior

        Collateral and the Term Senior Collateral.

                                   b.     To secure the prompt payment and performance of any and

        all Post-Petition Term Loan Obligations of whatever kind, nature or description, absolute

        or contingent, now existing or hereafter arising, the Term Loan Agent, for the benefit of

        itself and the Term Loan Lenders, shall have and is hereby granted, effective as of the

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        Petition Date, (i) valid and perfected first priority security interests and liens in and upon

        all of the Term Senior Collateral, superior to all other presently existing and future liens,

        security interests, claims or interests in property that any creditor of any Debtor’s Estate

        may have in and upon any such Collateral pursuant to Sections 364(c)(2), 364(c)(3) and

        364(d)(1) of the Bankruptcy Code, but subject in the case of priority only to the

        applicable Permitted Liens and Claims (as defined below), as and to the extent expressly

        provided in Section 2.1.2 below, and (ii) valid and perfected second priority security

        interests and liens in and upon all of the Revolver Senior Collateral, superior to all other

        presently existing and future liens, security interests, claims or interests in property that

        any creditor of any Debtor’s Estate may have in and upon any such Collateral pursuant to

        Sections 364(c)(2), 364(c)(3) and 364(d)(1) of the Bankruptcy Code, but subject in the

        case of priority only to (y) the first priority security interests and liens in and upon the

        Revolver Senior Collateral in favor of the Revolving Credit Agent, for the benefit of

        itself and the Revolving Credit Lenders, granted pursuant to the Interim Revolving Credit

        Order (or any subsequently entered Final Revolving Credit Order) as security for the

        Revolving Credit Obligations (the “Revolving Credit Facility Liens”), and (z) the other

        applicable Permitted Liens and Claims (as defined below), as and to the extent expressly

        provided in Section 2.1.2 below.

                                c.     Upon entry of the Final Order, the Term Senior Collateral

        (and therefore the assets subject to the first priority security interests and liens of the

        Term Loan Agent, for the benefit of itself and the Term Loan Lenders) shall include any

        and all avoidance actions under Chapter 5 or Section 724(a) of the Bankruptcy Code and

        the proceeds thereof.



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                           2.1.2   Lien Priority. The post-petition liens and security interests of the

Term Loan Agent, for the benefit of itself and the Term Loan Lenders, granted under the Post-

Petition Term Loan Documents and this Interim Order in the Collateral shall be and shall

continue to be first and senior in priority to all other interests and liens of every kind, nature and

description, whether created consensually, by an order of this Court or otherwise, including,

without limitation, liens or interests granted in favor of third parties in conjunction with Section

363, 364 or any other Section of the Bankruptcy Code or other applicable law; provided,

however, that the liens on and security interests in the Collateral of the Term Loan Agent, for the

benefit of itself and the Term Loan Lenders, shall be subject in the case of priority only to (a) the

Permitted Encumbrances (as defined in the Post-Petition Term Loan Agreement), including in

the case of the Revolver Senior Collateral only, the Revolving Credit Facility Liens, and (b) the

Carve Out Expenses (as defined below) solely to the extent provided for in Sections 2.3, 2.4 and

2.5 of this Interim Order (the items described in foregoing clauses (a) and (b) are sometimes

collectively referred to in this Interim Order as the “Permitted Liens and Claims”). Without

limiting the generality of the foregoing, the post-petition liens and security interests of the Term

Loan Agent, for the benefit of itself and the Term Loan Lenders, granted under the Post-Petition

Term Loan Documents and this Interim Order in the Collateral shall not be subject or

subordinate to any lien or security interest that is avoided and preserved for the benefit of the

Debtors and their Estates pursuant to Section 551 of the Bankruptcy Code.

                           2.1.3   Post-Petition Lien Perfection.      This Interim Order shall be

sufficient and conclusive evidence of the priority, perfection and validity of the post-petition

liens and security interests granted herein, effective as of the Petition Date, without any further

act and without regard to any other federal, state or local requirements or law requiring notice,

filing, registration, recording or possession of the Collateral, or other act to validate or perfect

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such security interest or lien, including without limitation, control agreements with any financial

institution(s) holding any deposit account of any Debtor (a “Perfection Act”). Notwithstanding

the foregoing, if the Term Loan Agent shall, in its sole discretion, elect for any reason to file,

record or otherwise effectuate any Perfection Act, the Term Loan Agent is authorized to perform

such act, and the Debtors are authorized and directed to perform such act to the extent necessary

or required by the Term Loan Agent, which act or acts shall be deemed to have been

accomplished as of the date and time of entry of this Interim Order notwithstanding the date and

time actually accomplished, and in such event, the subject filing or recording office is authorized

to accept, file or record any document in regard to such act in accordance with applicable law.

The Term Loan Agent may choose to file, record or present a certified copy of this Interim Order

in the same manner as a Perfection Act, which shall be tantamount to a Perfection Act, and, in

such event, the subject filing or recording office is authorized to accept, file or record such

certified copy of this Interim Order in accordance with applicable law. Should the Term Loan

Agent so choose and attempt to file, record or perform a Perfection Act, no defect or failure in

connection with such attempt shall in any way limit, waive or alter the validity, enforceability,

attachment, or perfection of the post-petition liens and security interests granted herein by virtue

of the entry of this Interim Order.

                           2.1.4   Nullifying   Restrictions       to      Post-Petition      Financing.

Notwithstanding anything to the contrary contained in any agreement, contract, lease, document,

note or instrument to which any Debtor is or becomes a party or under which any Debtor is or

becomes obligated, any provision that restricts, limits or impairs in any way any Debtor from

granting the Term Loan Agent, for the benefit of itself and the Term Loan Lenders, security

interests in or liens upon any of the Debtors’ assets or properties (including, among other things,

any anti-lien granting or anti-assignment clauses in any leases or other contractual arrangements

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to which any Debtor is a party), or otherwise entering into and complying with all of the terms,

conditions and provisions hereof or the Post-Petition Term Loan Documents (all such provisions

being collectively referred to as the “Restrictive Clauses”) shall not (i) be effective and/or

enforceable against any such Debtors, the Term Loan Agent or the Term Loan Lenders, or (ii)

adversely affect the validity, priority or enforceability of the liens, security interests, claims,

rights, priorities and/or protections granted to the Term Loan Agent, for the benefit of itself and

the Term Loan Lenders, pursuant to this Interim Order, the Post-Petition Term Loan Documents

or otherwise, to the maximum extent permitted under the Bankruptcy Code and other applicable

law. Such Restrictive Clauses shall not, to the maximum extent permitted under the Bankruptcy

Code and applicable law, render any contract or lease unable to be assumed and/or assigned by

any Debtor (or by the Term Loan Agent, for the benefit of itself and the Term Loan Lenders,

pursuant to the provisions contained in this Interim Order), or in any way impair or limit the

ability or right of any Debtor (or by the Term Loan Agent, for the benefit of itself and the Term

Loan Lenders, on behalf of any Debtor, pursuant to the provisions contained in this Interim

Order) to assume and/or assign any contract or lease under Sections 365 or 1123 of the

Bankruptcy Code.

                           2.1.5   After-Acquired Property.    Pursuant to Section 552(a) of the

Bankruptcy Code, no property acquired by the Debtors after the Petition Date is or will be

subject to any security interest or lien of any person or entity resulting from any security

agreement entered into by the Debtors prior to the Petition Date, except (a) to the extent that such

property constitutes proceeds of property of the Debtors that is subject to a valid, enforceable,

perfected, and unavoidable security interest or lien as of the Petition Date which is not subject to

subordination under Section 510(c) of the Bankruptcy Code or other provisions or principles of

applicable law, or (b) as set forth in the Interim Revolving Credit Order.

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                           2.1.6   Insurance Policies. Upon entry of this Interim Order, the Term

Loan Agent, for the benefit of itself and the Term Loan Lenders, shall be, and shall be deemed to

be, without any further action or notice, named as an additional insured and loss payee on each

insurance policy maintained by the Debtors which in any way relates to the Collateral. The

Debtors are authorized and directed to take any action necessary to have the Term Loan Agent

added as an additional insured and loss payee on each insurance policy.

                 2.2       Superpriority Administrative Expense. To secure the prompt payment and

performance of any and all Post-Petition Term Loan Obligations of whatever kind, nature or

description, absolute or contingent, now existing or hereafter arising, the Term Loan Agent, for

the benefit of itself and the Term Loan Lenders, is granted an allowed superpriority

administrative claim pursuant to Section 364(c)(1) of the Bankruptcy Code, having priority in

right of payment over any and all other obligations, liabilities and indebtedness of the Debtors,

whether now in existence or hereafter incurred by the Debtors, and over any and all

administrative expenses or priority claims of the kind specified in, or ordered pursuant to, inter

alia, Sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 364(c)(1), 546(c), 726,

1113 or 1114 of the Bankruptcy Code (the “Superpriority Claim”), whether or not such

administrative expenses or priority claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment, which Superpriority Claim shall be payable from and have

recourse to all pre and post-petition property of the Debtors and all proceeds thereof; provided

that, the Superpriority Claim shall be subject only to the Carve Out Expenses to the extent

expressly set forth in this Interim Order. The Superpriority Claim of the Term Loan Agent, for

the benefit of itself and the Term Loan Lenders, shall be pari passu with the superpriority claim

(as described in Section 18 of the Interim Revolving Credit Order) of the Revolving Credit

Agent, for the benefit of itself and the Revolving Credit Lenders, granted pursuant to the Interim

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Revolving Credit Order (both such Superpriority Claims, collectively, the “Superpriority

Claims”).

                 2.3       Carve Out Expenses.

                           2.3.1   Carve Out Expenses. The liens, claims and security interests in the

Collateral in favor of the Agents and the Lenders and the Superpriority Claims, shall be subject

only to the right of payment of the following expenses (the “Carve Out Expenses”):

                                   a.     statutory fees payable to the U.S. Trustee pursuant to 28

        U.S.C. §§ 1930(a)(6);

                                   b.     fees payable to the Clerk of this Court; and

                                   c.     subject to the terms and conditions of this Interim Order,

        the unpaid and outstanding reasonable fees and expenses actually incurred on or after the

        Petition Date, and approved by a final order of this Court pursuant to Sections 326, 328,

        330, or 331 of the Bankruptcy Code (collectively, the “Allowed Professional Fees”), by

        attorneys, accountants and other professionals retained by the Debtors and the Creditors’

        Committee under Section 327 or 1103(a) of the Bankruptcy Code (collectively, the

        “Professionals”), in a cumulative, aggregate sum not to exceed: (i) $1,125,000, inclusive

        of all retainers, for Professionals retained by the Debtors (the “Debtors’ Professional

        Fee Carve Out”), and (ii) $250,000 for Professionals retained by the Creditors'

        Committee (the “Committee’s Professional Fee Carve Out” and, together with the

        Debtors’ Professional Fee Carve Out, collectively, the “Professional Fee Carve Out”).

                 Effective upon the earlier of (a) the entry of a Final Order approving the Motion

or (b) the entry of an order extending the Interim Financing Period beyond April [4], 2008

(which entry, without the prior written consent of the Term Loan Agent, shall constitute an Event

of Default) (such effectiveness to be retroactive to the date of entry of this Interim Order), in

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exchange for the Professional Fee Carve-Out, all parties entitled to be paid therefrom shall not be

entitled, directly or indirectly, to charge the Collateral whether by operation of Sections 105,

506(c) or 552(b) of the Bankruptcy Code or otherwise.

                           2.3.2   Excluded Professional Fees.   Notwithstanding anything to the

contrary in this Interim Order, neither the Carve Out Expenses nor the proceeds of any loans or

Collateral shall be used to pay any Allowed Professional Fees or any other fees or expenses

incurred by any Professional in connection with any of the following: (a) an assertion or joinder

in any claim, counter-claim, action, proceeding, application, motion, objection, defense or other

contested matter seeking any order, judgment, determination or similar relief: (i) challenging the

legality, validity, priority, perfection, or enforceability of the Obligations or the Agents’ and the

Lenders’ liens on and security interests in the Collateral, (ii) invalidating, setting aside, avoiding

or subordinating, in whole or in part, the Obligations or the Agents’ and the Lenders’ liens on

and security interests in the Collateral, or (iii) preventing, hindering or delaying the Agents’ or

the Lenders’ assertion or enforcement of any lien, claim, right or security interest or realization

upon any Collateral in accordance with the terms and conditions of this Interim Order or the

Interim Revolving Credit Order, (b) a request to use the Cash Collateral (as such term is defined

in Section 363 of the Bankruptcy Code), (c) a request for authorization to obtain debtor-in-

possession financing or other financial accommodations pursuant to Section 364(c) or (d) of the

Bankruptcy Code, other than the Post-Petition Financing, (d) the commencement or prosecution

of any action or proceeding of any claims, causes of action or defenses against either Agent, any

Lender or any of their respective officers, directors, employees, agents, attorneys, affiliates,

successors or assigns, including, without limitation, any attempt to recover or avoid any claim or

interest from such Agent or any Lender under Chapter 5 of the Bankruptcy Code, or (e) any act

which has or could have the effect of materially and adversely modifying or compromising the

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rights and remedies of either Agent or any Lender, or which is contrary, in a manner that is

material and adverse to either Agent or any Lender, to any term or condition set forth in or

acknowledged by the Post-Petition Financing Documents, this Interim Order or the Interim

Revolving Credit Order and which results in the occurrence of an Event of Default; provided,

however, that an amount not to exceed $25,000 in the aggregate of the Post-Petition Facilities

may be used to pay the Allowed Professional Fees of the Creditors’ Committee to investigate

claims against and objections with respect to the Pre-Petition Debt (as defined in the Interim

Revolving Credit Order) and pre-petition liens and security interests of the Revolving Credit

Agent and the Revolving Credit Lenders (including, without limitation, issues regarding validity,

perfection, priority, or enforceability of the secured claims of the Revolving Credit Agent and the

Revolving Lenders), including formal discovery proceedings in connection therewith. Any such

amount once paid shall reduce the Committee’s Professional Fee Carve Out on a dollar-for-

dollar basis.

                 2.4       Carve Out Reserve. At the Term Loan Agent’s sole discretion, the Term

Loan Agent may at any time establish (and adjust) a reserve against the amount of loans or other

credit accommodations that would otherwise be made available to the Debtors pursuant to the

Post-Petition Term Loan Agreement in respect of the Professional Fee Carve Out and the other

Carve Out Expenses. Without duplication, in its sole discretion, the Term Loan Agent may elect

from time to time to fund, from the proceeds of loans under the Post-Petition Term Loan

Agreement, a cash reserve in respect of the Professional Fee Carve Out and the other Carve Out

Expenses (and, upon any such election, the Debtors shall be deemed to have made one or more

loan requests from time to time in the amount necessary to fund such cash reserve).

                 2.5       Payment of Carve Out Expenses.



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                           2.5.1   The Debtors shall be permitted to pay to the Professionals

compensation and reimbursement of expenses that accrued prior to the occurrence of an Event of

Default and in the ordinary course of the Debtors’ business, and that are otherwise allowed and

payable under Section 328, 330 and 331 of the Bankruptcy Code and any interim procedures

order, as the same may be due and payable, but subject in any event to the times and amounts

specified therefor in the Budget, and the amounts so paid shall permanently reduce the Debtors’

Professional Fee Carve Out or the Committee’s Professional Fee Carve Out, as applicable, on a

dollar-for-dollar basis. Any Professional of the Debtors holding a retainer shall not be required

to apply any portion of such retainer to its unpaid compensation and expenses prior to seeking

any payment of Allowed Professional Fees in accordance with the first sentence of this Section

2.5.1, but shall be required to apply the full amount of such retainer prior to seeking payment in

excess of such retainer from the Debtors’ Professional Fee Carve-Out. The application of any

retainer to Allowed Professional Fees shall permanently reduce the Debtors’ Professional Fee

Carve Out on a dollar-for-dollar basis.

                           2.5.2   Any payment or reimbursement made either directly by either

Agent or any Lender at any time, or directly or indirectly by or on behalf of the Debtors

(including the application of any retainers), in respect of any Allowed Professional Fees shall, in

either case, permanently reduce the Debtors’ Professional Fee Carve Out or the Committee’s

Professional Fee Carve Out, as applicable, on a dollar-for-dollar basis.

                           2.5.3   To the extent that the Term Loan Agent and the Term Loan

Lenders elect to directly fund or otherwise pay the Professional Fee Carve Out or the other Carve

Out Expenses, such amounts shall be added to and made a part of the Post-Petition Term Loan

Obligations, secured by the Collateral, and entitle the Term Loan Agent and the Term Loan

Lenders to all of the rights, claims, liens, priorities and protections under this Interim Order, the

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Post-Petition Term Loan Documents, the Bankruptcy Code or applicable law. Payment of any

Carve Out Expenses, whether by or on behalf of the Term Loan Agent or any Term Loan

Lender, shall not and shall not be deemed to reduce the Post-Petition Term Loan Obligations,

and shall not and shall not be deemed to subordinate any of the Term Loan Agent’s and the Term

Loan Lenders’ liens and security interests in the Collateral or their Superpriority Claim to any

pre- or post-petition lien, interest or claim in favor of any other party. The Term Loan Agent and

the Term Loan Lenders shall not, under any circumstance, be responsible for the direct payment

or reimbursement of any fees or disbursements of any Professionals incurred in connection with

the Cases or under any chapter of the Bankruptcy Code (other than to turnover proceeds of the

Collateral or the Superpriority Claim actually received by the Term Loan Agent or any Term

Loan Lender following an Event of Default), and nothing in Section 2.3, 2.4, 2.5 or 2.6 of this

Interim Order shall be construed to obligate the Term Loan Agent or any Term Loan Lenders in

any way, to pay compensation to or to reimburse expenses of any Professional (other than as set

forth in the preceding parenthetical), or to ensure that the Debtors have sufficient funds to pay

such compensation or reimbursement.

                           2.5.4               For avoidance of doubt, it is understood that the

Professional Fee Carve Out referred to in this Interim Order is the only “professional fee carve

out” available in the Cases, i.e., no “professional fee carve out” is or will be available under the

Interim Revolving Credit Order (or any subsequently entered Final Revolving Credit Order) and

the Revolving Credit Facility Liens in the Revolver Senior Collateral is not and will not be

subject to any “professional fee carve out”.

Section 3.       Default; Rights and Remedies; Relief from Stay.

                 3.1       Events of Default. The occurrence of any of the following events shall

constitute an “Event of Default” under this Interim Order:

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                                 a.     Any Debtor’s failure to perform, in any respect, any of the

        terms, conditions or covenants or their obligations under this Interim Order; or

                                 b.     Any “Event of Default” under (and as defined in) the

        Interim Revolving Credit Order; or

                                 c.     Any “Event of Default” under (and as defined in) any of

        the Post-Petition Term Loan Documents.

                 3.2       Rights and Remedies Upon Event of Default. Upon the occurrence of and

during the continuance of an Event of Default, (i) the Debtors shall be bound by all restrictions,

prohibitions and other terms as provided in this Interim Order and the Post-Petition Term Loan

Documents, and (ii) the Term Loan Agent shall be entitled to take any act or exercise any right

or remedy as provided in this Interim Order and the Post-Petition Term Loan Documents,

including, without limitation, (v) declaring all Post-Petition Term Loan Obligations immediately

due and payable, (w) accelerating the Post-Petition Term Loan Obligations, (x) ceasing to extend

loans or other financial accommodations to or on behalf of the Debtors, (y) subject to Section 3.4

below, setting off any Post-Petition Term Loan Obligations under the Post-Petition Term Loan

Documents with Collateral or proceeds in the Term Loan Agent’s or any Term Loan Lender’s

possession, and (z) subject to Section 3.4 below, enforcing any and all rights with respect to the

Collateral. Upon the occurrence and during the continuance of an Event of Default and the

exercise by the Term Loan Agent of its rights and remedies under the Post-Petition Term Loan

Documents, the Debtors shall assist the Term Loan Agent in effecting any sale or other

disposition of the Collateral required by the Term Loan Agent, including any sale of Collateral

pursuant to Section 363 of the Bankruptcy Code or assumption and assignment of Collateral

consisting of contracts and leases pursuant to Section 365 of the Bankruptcy Code, in each case,

upon such terms that are designed to maximize the proceeds obtainable from such sale or other

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disposition and otherwise acceptable to the Term Loan Agent. The Term Loan Agent and the

Term Loan Lenders shall have no obligation to lend or advance any additional funds to or on

behalf of the Debtors, or provide any other financial accommodations to the Debtors,

immediately upon or after the occurrence of an Event of Default or upon the occurrence of any

act, event, or condition that, with the giving of notice or the passage of time, or both, would

constitute an Event of Default.

                 3.3       Expiration of Commitment. Upon the expiration of the Debtors’ authority

to borrow and obtain other financial accommodations from the Term Loan Agent and the Term

Loan Lenders pursuant to the terms of this Interim Order and the Post-Petition Term Loan

Documents (except if such authority shall be extended with the prior written consent of the Term

Loan Agent, which consent shall not be implied or construed from any action, inaction or

acquiescence by the Term Loan Agent or any Term Loan Lender), unless an Event of Default set

forth in Section 3.1 above occurs sooner and the automatic stay has been lifted or modified

pursuant to Section 3.4 of this Interim Order, all of the Post-Petition Term Loan Obligations

shall immediately become due and payable and the Term Loan Agent and the Term Loan

Lenders shall be automatically and completely relieved from the effect of any stay under Section

362 of the Bankruptcy Code, any other restriction on the enforcement of their liens upon and

security interests in the Collateral or any other rights granted to the Term Loan Agent and the

Term Loan Lenders pursuant to the terms and conditions of the Post-Petition Term Loan

Documents or this Interim Order, and the Term Loan Agent, acting on behalf of itself and the

Term Loan Lenders, shall be and is hereby authorized, in its sole discretion, to take any and all

actions and remedies provided to it in this Interim Order, the Post-Petition Term Loan

Documents or applicable law which the Term Loan Agent may deem appropriate and to proceed

against and realize upon the Collateral or any other property of the Debtors’ Estates.

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                 3.4       Relief from Automatic Stay. The automatic stay provisions of Section 362

of the Bankruptcy Code and any other restriction imposed by an order of this Court or applicable

law are hereby modified and vacated without further notice, application or order of this Court to

the extent necessary to permit the Term Loan Agent and the Term Loan Lenders to perform any

act authorized or permitted under or by virtue of this Interim Order or the Post-Petition Term

Loan Documents, including, without limitation, (a) to implement the Post-Petition Financing

arrangements authorized by this Interim Order and pursuant to the terms of the Post-Petition

Term Loan Documents, (b) to take any act to create, validate, evidence, attach or perfect any

lien, security interest, right or claim in the Collateral, and (c) to assess, charge, collect, advance,

deduct and receive payments with respect to the Post-Petition Term Loan Obligations under the

Post-Petition Term Loan Documents, including, without limitation, all interests, fees, costs and

expenses under such Post-Petition Term Loan Documents, and apply such payments to such

Post-Petition Term Loan Obligations pursuant to the Post-Petition Term Loan Documents and

this Interim Order.        In addition and without limiting the foregoing, without further notice,

application or order of this Court, upon the occurrence and during the continuance of an Event of

Default, and after providing 3 business days’ prior written notice thereof (the “Enforcement

Notice”) to counsel for the Debtors, counsel for the Revolving Credit Agent, counsel for the

Creditors’ Committee (if one is appointed), and the U.S. Trustee, the Term Loan Agent, acting

on behalf of itself and the Term Loan Lenders, shall be entitled to take any action and exercise

all rights and remedies provided to it by this Interim Order, the Post-Petition Term Loan

Documents or applicable law as the Term Loan Agent may deem appropriate in its sole

discretion to, among other things, proceed against and realize upon the Collateral or any other

assets or properties of the Debtors’ Estates upon which the Term Loan Agent, for the benefit of

itself and the Term Loan Lenders, has been or may hereafter be granted liens or security interests

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to obtain the full and indefeasible payment of all Post-Petition Term Loan Obligations under the

Post-Petition Term Loan Documents.

Section 4.       Representations; Covenants; and Waivers.

                 4.1       Objections to Pre-Petition Obligations. Section 6 of the Interim Revolving

Credit Order is incorporated into this Interim Order as if more fully set forth in this Interim

Order. Section 6 of the Interim Revolving Credit Order shall not be modified without the prior

written consent of the Term Loan Agent (and no such consent shall be implied from any other

action, inaction or acquiescence by the Term Loan Agent or any Term Loan Lender).

                 4.2       Debtors’ Waivers. At all times during the Cases, and whether or not an

Event of Default has occurred, unless otherwise consented to by the Term Loan Agent in writing

in advance (and no such consent shall be implied from any other action, inaction or acquiescence

by the Term Loan Agent or any Term Loan Lender), the Debtors irrevocably waive (a) any right

to seek any modifications or extensions of this Interim Order; and (b) any right that they may

have to seek authority (i) to use Cash Collateral of the Term Loan Agent and the Term Loan

Lenders under Section 363 of the Bankruptcy Code; (ii) to obtain post-petition loans or other

financial accommodations pursuant to Section 364(c) or (d) of the Bankruptcy Code, other than

the Post-Petition Financing; (iii) to challenge the use of proceeds or the application of any

payments authorized by this Interim Order and the Interim Revolving Credit Order; (iv) to

propose or support a plan of reorganization that does not provide for the indefeasible payment in

full and satisfaction of all Post-Petition Term Loan Obligations on the effective date of such

plan; or (v) to seek relief under the Bankruptcy Code, including without limitation, under Section

105 of the Bankruptcy Code, to the extent any such relief would in any way restrict or impair the

rights and remedies of the Term Loan Agent and the Term Loan Lenders as provided in this



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Interim Order or the Post-Petition Term Loan Documents or the Term Loan Agent’s and the

Term Loan Lenders’ exercise of such rights or remedies.

                 4.3       Section 506(c) Claims. Effective upon the earlier of (a) the entry of a

Final Order approving the Motion or (b) the entry of an order extending the Interim Financing

Period beyond April [4], 2008 (which entry, without the prior written consent of the Term Loan

Agent, shall constitute an Event of Default) (such effectiveness to be retroactive to the date of

entry of this Interim Order), no costs or expenses of administration which have or may be

incurred in any Case or in any subsequently converted case under Chapter 7 of the Bankruptcy

Code at any time shall be charged or asserted against the Term Loan Agent or any Term Loan

Lender, their respective claims or the Collateral pursuant to Section 506(c) of the Bankruptcy

Code without the prior written consent of the Term Loan Agent (and no such consent shall be

implied from any other action, inaction or acquiescence by the Term Loan Agent or any Term

Loan Lender).

                 4.4       Collateral Rights. Until all of the Post-Petition Term Loan Obligations

shall have been indefeasibly paid and satisfied in full:

                           4.4.1   subject to the Intercreditor Agreement, no other party shall

foreclose or otherwise seek to enforce any junior lien or claim in any Collateral;

                           4.4.2   in the event that any party who holds a lien or security interest in

any of the Collateral that is junior and/or subordinate to the liens and claims of the Term Loan

Agent, for the benefit of itself and the Term Loan Lenders, in such Collateral receives or is paid

proceeds of the Collateral prior to the indefeasible payment and satisfaction in full of all Post-

Petition Term Loan Obligations, such junior or subordinate lienholder shall be deemed to have

received, and shall hold, such Collateral proceeds in trust for the Term Loan Agent, for the

benefit of itself and the Term Loan Lenders, and, subject to the Intercreditor Agreement, shall

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immediately turnover to the Term Loan Agent such proceeds for application to the Petition Term

Loan Obligations in accordance with the Post-Petition Term Loan Documents; and

                           4.4.3   upon and after the occurrence of an Event of Default, and subject

to the Term Loan Agent obtaining relief from the automatic stay as provided for herein, in

connection with a liquidation of any of the Collateral, the Term Loan Agent (or any of its

employees, agents, consultants, contractors or other professionals) shall have the right, at the sole

cost and expense of the Debtors, to: (i) enter upon, occupy and use any real or personal property,

fixtures, equipment, leasehold interests or warehouse arrangements owned or leased by the

Debtors and (ii) use any and all trademarks, tradenames, copyrights, licenses, patents or any

other similar assets of the Debtors, which are owned by or subject to a lien of any third party and

which are used by the Debtors in their businesses. The Term Loan Agent and the Term Loan

Lenders will be responsible for the payment of any applicable fees, rentals, royalties or other

amounts due such lessor, licensor or owner of such property (other than the Debtors) for the

period of time that the Term Loan Agent actually uses the equipment or the intellectual property

(but in no event for any accrued and unpaid fees, rentals or other amounts due for any period

prior to the date that the Term Loan Agent actually occupies or uses such assets or properties).

                 4.5       Release. Upon the entry of this Interim Order, in consideration of and as a

condition to the Term Loan Agent and the Term Loan Lenders making post- petition loans and

providing other financial accommodations to the Debtors pursuant to the provisions of the Post-

Petition Term Loan Documents and this Interim Order, each Debtor, on behalf of itself and its

successors and assigns (collectively, the “Releasors”), shall, forever release, discharge and

acquit the Term Loan Agent, each Term Loan Lender and their respective affiliates, officers,

directors, agents and attorneys (collectively, the “Releasees”) of and from any and all claims,

demands, liabilities, responsibilities, disputes, remedies, causes of action and obligations, of

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every kind, nature and description, that Releasors had, have or hereafter can or may have against

Releasees as of the date hereof, in respect of events occurring on or prior to the date hereof,

whether arising from or in connection with or related to the Post-Petition Financing or any

related or unrelated transaction. In addition, upon the payment in full of all Post-Petition Term

Loan Obligations owed to the Term Loan Agent and the Term Loan Lenders by the Debtors and

termination of the rights and obligations arising under the Post-Petition Term Loan Documents

and either a Final Order or extended Interim Order, as the case may be (which payment and

termination shall be on terms and conditions acceptable to the Term Loan Agent), the Releasees

shall be released from any and all claims, demands, liabilities, responsibilities, disputes,

remedies, causes of action and obligations, of every kind, nature and description, whether arising

from or in connection with or related to the transactions contemplated by this Interim Order and

the Post-Petition Term Loan Documents or any related or unrelated transaction, including

without limitation any obligation to pay or otherwise fund the Carve Out Expenses, on terms and

conditions acceptable to the Term Loan Agent.

Section 5.       Other Rights and Obligations.

                 5.1       No Modification or Stay of this Interim Order. Notwithstanding (i) any

stay, modification, amendment, supplement, vacating, revocation or reversal of this Interim

Order, the Post-Petition Term Loan Documents or any term hereunder or thereunder, (ii) the

failure to obtain a Final Order pursuant to Bankruptcy Rule 400l(c)(2), or (iii) the dismissal or

conversion of one or more of the Cases (each, a “Subject Event”), (x) the acts taken by the Term

Loan Agent and the Term Loan Lenders in accordance with this Interim Order, and (y) the Post-

Petition Term Loan Obligations incurred or arising prior to the Term Loan Agent’s actual receipt

of written notice from the Debtors expressly describing the occurrence of such Subject Event

shall, in each instance, be governed in all respects by the original provisions of this Interim

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Order, and the acts taken by the Term Loan Agent and the Term Loan Lenders in accordance

with this Interim Order, and the liens and security interests granted to the Term Loan Agent and

the Term Loan Lenders in the Collateral, and all other rights, remedies, privileges, and benefits

in favor of the Term Loan Agent and the Term Loan Lenders pursuant to this Interim Order and

the Post-Petition Term Loan Documents shall remain valid and in full force and effect pursuant

to Section 364(e) of the Bankruptcy Code.           For purposes of this Interim Order, the term

“appeal”, as used in Section 364(e) of the Bankruptcy Code, shall be construed to mean any

proceeding for reconsideration, amending, rehearing, or re-evaluating this Interim Order by this

Court or any other tribunal.

                 5.2       Non-Dischargeability. The Post-Petition Term Loan Obligations shall not

be discharged by the entry of an order confirming a plan of reorganization in the Cases pursuant

to Section 1141(d)(4) of the Bankruptcy Code or otherwise, unless and until all Post-Petition

Term Loan Obligations are indefeasibly paid in full in accordance with the terms and conditions

of the Post-Petition Term Loan Documents prior to or concurrently with the entry of such order.

                 5.3       Power to Waive Rights; Duties to Third Parties. The Term Loan Agent

and the Term Loan Lenders shall have the right to waive any of the terms, rights and remedies

provided or acknowledged in this Interim Order in respect of the Term Loan Agent and the Term

Loan Lenders (the “Lender Rights”), and shall have no obligation or duty to any other party

with respect to the exercise or enforcement, or failure to exercise or enforce, any Lender

Right(s). Any waiver by the Term Loan Agent or the Term Loan Lenders of any Lender Rights

shall not be or constitute a continuing waiver. Any delay in or failure to exercise or enforce any

Lender Right shall neither constitute a waiver of such Lender Right, subject the Term Loan

Agent or the Term Loan Lenders to any liability to any other party, nor cause or enable any other



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party to rely upon or in any way seek to assert as a defense to any obligation owed by the

Debtors to the Term Loan Agent or the Term Loan Lenders.

                 5.4       Disposition of Collateral     The Debtors shall not sell, transfer, lease,

encumber or otherwise dispose of any portion of the Collateral without the prior written consent

of the Term Loan Agent (and no such consent shall be implied, from any other action, inaction or

acquiescence by the Term Loan Agent or any Term Loan Lender), except for sales of the

Debtors’ Inventory in the ordinary course of their business.

                 5.5       Reservation of Rights.      The terms, conditions and provisions of this

Interim Order are in addition to and without prejudice to the rights of the Term Loan Agent and

the Term Loan Lenders to pursue any and all rights and remedies under the Bankruptcy Code,

the Post-Petition Term Loan Documents or any other applicable agreement or law, including,

without limitation, rights to seek adequate protection and/or additional or different adequate

protection, to seek relief from the automatic stay, to seek an injunction, to oppose any request for

use of cash collateral or granting of any interest in the Collateral or priority in favor of any other

party, to object to any sale of assets, and to object to applications for allowance and/or payment

of compensation of Professionals or other parties seeking compensation or reimbursement from

the Estate. Without limiting the generality of the foregoing, entry of this Interim Order is

without prejudice to any rights that the Term Loan Agent and the Term Loan Lenders have or

may acquire against any third party.

                 5.6       Binding Effect.

                           5.6.1   The provisions of this Interim Order and the Post-Petition Term

Loan Documents, the Post-Petition Term Loan Obligations, the Superpriority Claim and any and

all rights, remedies, privileges and benefits in favor of the Term Loan Agent and the Term Loan

Lender provided or acknowledged in this Interim Order, and any actions taken pursuant thereto,

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shall be effective immediately upon entry of this Interim Order pursuant to Bankruptcy Rules

6004(h) and 7062, shall continue in full force and effect, shall survive entry of any other order

(including without limitation any order which may be entered confirming any plan of

reorganization, converting one or more of the Cases to any other chapter under the Bankruptcy

Code, or dismissing one or more of the Cases), and shall continue in this or any superseding case

under the Bankruptcy Code (and all priorities in payment, liens and security interests in favor of

the Term Loan Agent and the Term Loan Lenders shall maintain their priority as provided by

this Interim Order until all Post-Petition Term Loan Obligations are indefeasibly paid and

satisfied in full).

                           5.6.2   Any order dismissing one or more of the Cases under Section 1112

or otherwise shall be deemed to provide (in accordance with Sections 105 and 349 of the

Bankruptcy Code) that (a) the Superpriority Claim and the Term Loan Agent’s and the Term

Loan Lenders’ liens on and security interests in the Collateral shall continue in full force and

effect notwithstanding such dismissal until the Post-Petition Term Loan Obligations are

indefeasibly paid and satisfied in full, and (b) this Court shall retain jurisdiction, notwithstanding

such dismissal, for the purposes of enforcing the Superpriority Claim and such liens and security

interests in the Collateral.

                           5.6.3   In the event this Court modifies any of the provisions of this

Interim Order or the Post-Petition Term Loan Documents following a Final Hearing, (a) such

modifications shall not affect the rights or priorities of the Term Loan Agent and the Term Loan

Lenders pursuant to this Interim Order with respect to the Collateral or any portion of the Post-

Petition Term Loan Obligations which arises or is incurred or is advanced prior to such

modifications, and (b) this Interim Order shall remain in full force and effect except as

specifically amended or modified at such Final Hearing.

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                           5.6.4   This Interim Order shall be binding upon the Debtors, all parties in

interest in the Cases and their respective successors and assigns, including any trustee or other

fiduciary appointed in the Cases or any subsequently converted bankruptcy case(s) of any

Debtor. This Interim Order shall also inure to the benefit of the Term Loan Agent, the Term

Loan Lenders, the Debtors and their respective successors and assigns. For avoidance of doubt,

the Term Loan Agent and the Term Loan Lenders shall have no obligation to extend any

financing to any Chapter 7 trustee or similar responsible person appointed for the Debtors’

Estates.

                           5.6.5   Other than the Carve Out Expenses to the extent expressly set forth

in this Interim Order and the pari passu superpriority claim of the Revolving Credit Agent, no

claim having a priority superior or pari passu with those granted by this Interim Order to the

Term Loan Agent and the Term Loan Lenders shall be granted or permitted by any order of the

Court heretofore or hereafter entered in any Case, while any portion of the Post-Petition Term

Loan Obligations (or any refinancing thereof) or the commitment thereunder remains

outstanding without the prior written consent of the Term Loan Agent (and no such consent shall

be implied, from any other action, inaction or acquiescence by the Term Loan Agent or any

Term Loan Lender).

                 5.7       Marshalling. In no event shall the Term Loan Agent or any Term Loan

Lender be subject to the equitable doctrine of “marshalling” or any similar doctrine with respect

to the Collateral.

                 5.8       Term; Termination. Notwithstanding any provision of this Interim Order

to the contrary, the term of the financing arrangements among the Debtors, the Term Loan Agent

and the Term Loan Lenders authorized by this Interim Order may be terminated pursuant to the

terms of the Post-Petition Term Loan Documents.

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                 5.9       Limited Effect. Unless the Interim Order specifically provides otherwise,

in the event of a conflict between the terms and provisions of any of the Post-Petition Term Loan

Documents and this Interim Order, the terms and provisions of this Interim Order shall govern

and control, interpreted as most consistent with the terms and provisions of the Post-Petition

Term Loan Documents.

                 5.10      Objections Overruled. All objections to the entry of this Interim Order

are, to the extent not withdrawn, hereby overruled.

                 5.11      Restrictions on Use of Cash Collateral, Additional Financing. All post-

petition loans and other financial accommodations under the Post-Petition Term Loan

Documents are made in reliance on this Interim Order and in the event that any order is entered

at any time in any Case or in any subsequently converted case under Chapter 7 of the Bankruptcy

Code (other than the Final Order) which (a) authorizes the use of Cash Collateral of the Debtors

or the sale, lease, or other disposition of any Collateral, except as expressly permitted under the

Post-Petition Term Loan Documents, or (b) authorizes, under Section 364 of the Bankruptcy

Code the obtaining of credit or the incurring of indebtedness (other than the Post-Petition

Financing) secured by a lien or security interest in the Collateral which is equal or senior to the

Term Loan Agent’s liens and security interests in the Collateral, or which is entitled to priority

administrative claim status which is equal or superior to the Superpriority Claim; then, in each

instance described in clauses (a) and (b) above, such other order shall require that all Post-

Petition Term Loan Obligations first shall be indefeasibly paid in full in immediately available

funds, unless the Term Loan Agent shall first have given its prior written consent thereto (no

such consent being implied from any other action, inaction or acquiescence by the Term Loan

Agent or any Term Loan Lender). The liens and security interests granted to or for the benefit of

the Term Loan Agent, for the benefit of itself and the Term Loan Lenders, hereunder and the

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rights of the Term Loan Agent and the Term Loan Lenders pursuant to this Interim Order and the

Post-Petition Term Loan Documents with respect to the Post-Petition Term Loan Obligations

and the Collateral are cumulative and shall not be altered, modified, extended, impaired, or

affected by any plan of reorganization of the Debtors, unless the Term Loan Agent shall first

have given its prior written consent thereto (no such consent being implied from any other

action, inaction or acquiescence by the Term Loan Agent or any Term Loan Lender), and shall

continue after confirmation and effectiveness of any such plan.

                 5.12      Limitation of Liability. Nothing in this Interim Order or the Post-Petition

Term Loan Documents shall in any way be construed or interpreted to impose, or allow the

imposition upon the Term Loan Agent or any Term Loan Lender of, any liability for any claims

arising from the pre-petition or post-petition activities by the Debtors in the operation of their

businesses or in connection with their restructuring efforts.

Section 6.       Good Faith.

        The terms of the financing arrangements among the Debtors, the Term Loan Agent and

the Term Loan Lenders have been negotiated in good faith and at arms’ length among the

Debtors, the Term Loan Agent and the Term Loan Lenders and any loans or other financial

accommodations which are made or caused to be made to the Debtors by the Term Loan Agent

and the Term Loan Lenders pursuant to the Post-Petition Term Loan Documents are deemed to

have been made and provided in good faith, as the term “good faith” is used in Section 364(e) of

the Bankruptcy Code, and shall be entitled to the full protection of Section 364(e) of the

Bankruptcy Code in the event that this Interim Order or the Post-Petition Term Loan Documents

or any provisions are hereafter modified, vacated, amended, or stayed by subsequent order of this

Court or any other court without the prior written consent of the Term Loan Agent (and no such



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consent shall be implied, from any other action, inaction or acquiescence by the Term Loan

Agent or any Term Loan Lender).

Section 7.       Final Hearing and Response Dates.

        The Final Hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is scheduled

      April 3
for _______________, 2008 at 10:00 am before this Court. The Debtors shall promptly mail
                              ______

copies of this Interim Order to (a) the Noticed Parties, (b) all landlords and warehousemen of the

Debtors, (c) all parties who have filed UCC-1 financing statements against the Debtors, or who,

to the Debtors’ knowledge, have asserted any liens on any of the Debtors’ assets, (d) to any other

party that has filed a request for notices with this court and (e) to counsel for the Creditors’

Committee (if one is appointed). Any party in interest objecting to the relief sought at the Final

Hearing shall serve and file written objections, which objections shall be served upon (i) counsel

for the Debtors, Cozen O’Connor LLP, LibertyView, Suite 300, 457 Haddonfield Road, Cherry

Hill, New Jersey 08002, Attn: Mark E. Felger, Esq.; (ii) counsel for the Revolving Credit Agent,

Stradley Ronon Stevens & Young, LLP, 2600 One Commerce Square, Philadelphia,

Pennsylvania 19103, Attn: Paul A. Patterson, Esq.; (iii) counsel for the Term Loan Agent, Blank

Rome LLP, One Logan Square, 130 N. 18th Street, Philadelphia, Pennsylvania 19103-6998; Attn:

Joel C. Shapiro, Esq.; (iv) counsel for the Creditors’ Committee (if one is appointed); and (v) the

U.S. Trustee; and shall be filed with the Clerk of the United States Bankruptcy Court for the

District of New Jersey, in each case, to allow actual receipt of the foregoing no later than
March 31, 2008 at 4:00 p.m.
_____________________, prevailing Eastern time.

Section 8.      Intercreditor Agreement.

        Notwithstanding anything to the contrary contained in this Interim Order, the rights and

obligations of the Agents and Lenders to one another, and with respect to the Collateral, are

subject to the terms of the Intercreditor Agreement, dated on or about the date hereof (as

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amended, supplemented, extended or otherwise modified from time to time, the “Intercreditor

Agreement”) among the Agents and the Lenders. With respect to such rights and obligations,

and with respect to the Collateral, in the event of a conflict between the terms and provisions of

the Intercreditor Agreement and this Interim Order, the terms and provisions of the Intercreditor

Agreement shall govern and control. Pursuant to the Intercreditor Agreement, each of the

Revolving Credit Agent, for itself and the Revolving Credit Lenders, and the Term Loan Agent,

for itself and the Term Loan Lenders, has consented to the liens on its security interest in the

Collateral of the other Agent, for the benefit of itself and the Lenders for which it acts as agent,

and the priority of such liens and security interests, all as more fully defined, described and set

forth in the Intercreditor Agreement.




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